Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 1 of 6         PageID #: 77



                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MAINE

UNITED STATES,

      Plaintiff
                                                  CRIMINAL ACTION
      v.
                                             CASE NO. 2:14-CR-137-DBH
ADAM MACK

      Defendant


             DEFENDANT’S MEMORANDUM IN AID OF SENTENCING

      The Defendant, by and through counsel Norman, Hanson & DeTroy, LLC,

submits his Memorandum in Aid of Sentencing.

      The relevant sentencing facts are largely undisputed and the issue

presented to this Court is the appropriate sentence to be imposed on Mr. Mack

based upon the factors set forth in 18 U.S.C. § 3553. In the companion supervised

release matter, the Government and Mr. Mack have agreed to a joint

recommendation of a four-month sentence consecutive to any sentence imposed

in the above-captioned matter. United States v. Mack, Docket No. 12-CR-139.

      In the initial presentence report, the probation officer determined that Mr.

Mack had a criminal history category II and total offense level of 9, which resulted

in an advisory guideline sentence range of 6-12 months. PSR ¶¶ 49, 52 & 73.

Following the issuance of the presentence report, Mr. Mack objected to the

grouping analysis, and a number of minor factual issues. These minor factual
Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 2 of 6          PageID #: 78



issues were resolved in the Revised Presentence Report and Mr. Mack’s grouping

analysis was adopted.

      Although Mr. Mack’s grouping analysis was adopted in the Revised

Presentence Report, the probation officer, without any objection from the

Government, recommended that Mr. Mack not receive a decrease of three levels

under United States Sentencing Guideline § 2L2.1(b)(1). PSR at ¶ 38, RPSR at

27. The probation officer also revised the report to recommend that Mr. Mack not

receive any adjustment for acceptance of responsibility based upon the conduct

that formed the basis for the companion petition for revocation of supervised

release. Based upon these revisions, the Revised Presentence Report

recommended a total offense level of 11, which results in an advisory guideline

range of 10-16 months based on a criminal history category II.

      Following the issuance of the Presentence Report, the Government

objected to certain factual statements that did not affect any guideline issues, and

requested that information regarding the pending petition for revocation of

supervised release be included in the Revised Presentence Report. All of these

issues were resolved in the Revised Presentence Report.

      The disputed guideline issues are whether Mr. Mack is entitled to a two-

level downward adjustment for acceptance of responsibility and whether Mr.

Mack is entitled to a three-level decrease on the grounds that the offense was

committed for other than profit pursuant to USSG § 2L2.1(b)(1).




                                       ~2~
 Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 3 of 6         PageID #: 79



I.    Mr. Mack has accepted responsibility for his conduct and this
      Court should adjust his Base Offense Level pursuant to USSG §
      3E1.1(a).

      Mr. Mack admits that he violated the terms of his supervised release and

has agreed with the Government to a sentence of imprisonment of four months

consecutive to any sentence imposed in the above-captioned matter. However,

any suggestion that he was attempting to avoid restitution obligations to Minat

Corporation is not accurate. Minat Corporation was run by Mr. Mack, and

essentially Mr. Mack was paying restitution to his grandmother through Minat

Corporation. Mr. Mack concedes that he violated the terms of his supervised

release, but any violation was not an attempt to avoid his restitution obligations.

      This Court should also consider that almost all of Mr. Mack’s supervised

release violations arose prior to his plea in the above-captioned case and after his

plea, he provided bank records that confirmed his violations. Mr. Mack takes

responsibility for his actions. This Court should exercise its discretion and find

that Mr. Mack has accepted responsibility for this offense and apply a two-level

downward adjustment.

II.   Mr. Mack is entitled to a three-level downward adjustment
      pursuant to USSG § 2L2.1(b)(1) on the grounds that his offense
      was committed for other than profit.

      The Government’s position is that since Mr. Segal was paid $800 for

Segal’s role in the marriage fraud, Mr. Mack’s offense conduct was commitment

for profit. In the present case, there is no dispute that “Mack did not receive any

money himself for remuneration in connection with the Shevchenko and Segal


                                        ~3~
    Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 4 of 6                 PageID #: 80



wedding.” RPSR at ¶ 13. The mere fact that Mr. Segal may have received money

does not lead to the conclusion that Mr. Mack committed the offense for profit.1

        Under § 2L2.1(b)(1), the issue is not whether Segal received any money, but

rather whether Mr. Mack committed the offense “other than for profit.” There is a

dearth of reported cases analyzing this guideline section, but the common theme

of the reported decisions was the defendant’s actual receipt of money. See, e.g.,

United States v. Serunjogi, 767 F.3d 132, 143 (1st Cir. 2014) (defendant not

entitled to downward adjustment where he received a large amount of cash);

United States v. Buenrostro-Torres, 24 F.3d 1173, 1175 (9th Cir. 1994) (district

court found that defendant was given money for false documents).

        In the present case, Mr. Mack acted out of a misguided desire to help Ms.

Schevchenko remain in the United States. There is no excuse for Mr. Mack’s

actions, however this offense was not committed for profit. In fact, Mr. Mack

went out of his way to assist Ms. Schevhenko financially and through housing

assistance. Again, Mr. Mack acknowledges his behavior was wrong, but his

motive was never to make a profit or receive any money whatsoever.




1       Application Note 1 provides:

               “The offense was committed other than for profit” means that there was no
               payment or expectation of payment for the smuggling, transporting or harboring
               of any unlawful aliens.

In the present case, there is no allegation of smuggling, transporting or harboring, but merely
an allegation of officiating a fraudulent marriage. The Court may also resolve this issue by
finding that a three-level reduction would be appropriate to take into account the actual offense
conduct under 18 U.S.C. § 3553(a)(1).


                                              ~4~
Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 5 of 6         PageID #: 81



      Based on the foregoing arguments, Mr. Mack’s total offense level is 6, his

criminal history is category II, and his advisory guideline range is 1-7 months,

which will be followed by a consecutive four-month term of imprisonment for the

supervised release violation.

      Dated at Portland, Maine this 17th day of August, 2015.



                                             /s/ Thomas S. Marjerison
                                             Thomas S. Marjerison, Esq.
                                             Attorney for Defendant Adam Mack

Norman, Hanson & DeTroy, LLC
Two Canal Plaza
P.O. Box 4600
Portland, ME 04112
207-774-7000
tmarjerison@nhdlaw.com




                                       ~5~
Case 2:14-cr-00137-DBH Document 39 Filed 08/17/15 Page 6 of 6        PageID #: 82



                          CERTIFICATE OF SERVICE

      I hereby certify that on August 17, 2015, I electronically filed Defendant
Adam Mack's Memorandum in Aid of Sentencing with the Clerk of Courts using
the CM/ECF system which will send notification of such filing to the following:

Darcie McElwee, AUSA
U.S. Attorney’s Office
District of Maine
100 Middle Street Plaza
Portland, ME 04101
Darcie.Melee@usdoj.gov

                                      /s/ Thomas S. Marjerison
                                      Thomas S. Marjerison, Esq.
                                      Attorney for Defendant Adam Mack

Norman, Hanson & DeTroy, LLC
Two Canal Plaza
P.O. Box 4600
Portland, ME 04112
207-774-7000
tmarjerison@nhdlaw.com




                                      ~6~
